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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

    Donald J. Trump,

                            Plaintiff,

            v.
                                              Civil Action No. 2:22-14102-DMM
    Hillary R. Clinton et al.,

                            Defendants.




     HILLARY CLINTON’S, HFACC, INC.’S, JOHN PODESTA’S, ROBERT MOOK’S,
     DNC’S, DNC SERVICES CORPORATION’S, DEBBIE WASSERMAN SCHULTZ’S,
    CHARLES HALLIDAY DOLAN, JR.’S, FUSION GPS’S, GLENN SIMPSON’S, PETER
      FRITSCH’S, NELLIE OHR’S, BRUCE OHR’S, IGOR DANCHENKO’S, RODNEY
       JOFFE’S, NEUSTAR SECURITY SERVICES’S, NEUSTAR INC.’S, AND ORBIS
         BUSINESS INTELLIGENCE LTD.’S JOINT MOTION FOR SANCTIONS
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                                           INTRODUCTION

           After dismissing Plaintiff’s suit in a thorough opinion, this Court retained jurisdiction to

   determine issues related to sanctions. The exercise of that jurisdiction is appropriate here:

   Plaintiff’s suit was unwarranted on the facts, unsupported by the law, and imposed substantial

   burdens both on Defendants and this Court. Despite being alerted to the many deficiencies in the

   initial Complaint by one round of motions to dismiss, Plaintiff and his counsel pressed forward on

   an Amended Complaint that fixed none of the problems, and instead simply added more invective

   and irrelevant factual allegations to what was already a “shotgun” pleading. The Court should not

   countenance the abuse of its resources—or allow significant burdens to be imposed on Defendants,

   many of them individuals who have devoted their careers to public service—in service of

   Plaintiff’s political stunt.

           Under these circumstances, sanctions against both Plaintiff and his counsel are appropriate.

   Under 28 U.S.C. § 1927, this Court may order Plaintiff’s counsel to reimburse Defendants for the

   fees and costs associated with their motions to dismiss the Amended Complaint and the instant

   motion for sanctions. Under the Court’s inherent authority as well as the Defend Trade Secrets

   Act, the Court may impose sanctions on Plaintiff himself and require Plaintiff to reimburse

   Defendants for all the fees and costs incurred as a result of his suit, including those associated with

   responding to the initial Complaint and Amended Complaint, and with the instant motion for

   sanctions. 1




   1
     Defendants believe the objectively unreasonable conduct of Plaintiff and his counsel as described
   below would also support Rule 11 sanctions. However, Defendants, with the exception of Charles
   Halladay Dolan, Jr. did not previously serve Plaintiff with a sanctions motion under Rule 11. Thus,
   Defendants are not moving for Rule 11 sanctions, although such sanctions might be imposed on
   the Court’s own initiative. Dolan has filed his previously served motion (DE 268).

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                                              BACKGROUND

           Plaintiff’s pleadings and theories were obviously and fatally defective from the very

   inception of this action. Plaintiff’s initial Complaint spanned 108 pages and 508 paragraphs. DE

   1 (March 24, 2022). It named 28 individual defendants, as well as 10 John Does and 10 ABC

   Corporations. Id.

           Less than a month after the Complaint was filed, Hillary Clinton moved to dismiss it with

   prejudice. DE 52 (Apr. 20, 2022). Defendant Clinton’s motion identified many of the fundamental

   factual deficiencies and legal flaws that would ultimately lead this Court to dismiss the Amended

   Complaint: namely, (1) that Plaintiff’s claims were untimely on their face, DE 52 at 1–5; (2) that

   Plaintiff’s own tweets confirmed his knowledge of his supposed claims no later than October 2017,

   DE 52 at 2–3; (3) that Plaintiff’s Complaint was replete with inadequate and conclusory

   allegations, DE 52 at 6; (4) that Plaintiff failed to allege a RICO enterprise, DE 52 at 7; (5) that

   Plaintiff failed to allege the predicate act of theft of trade secrets based on DNS information, DE

   52 at 8–9; (6) that Plaintiff failed to allege the predicate act of obstruction of justice in part because

   he identified no “official proceeding,” DE 52 at 9–10; (7) that Plaintiff failed to allege a pattern of

   racketeering activity, DE 52 at 11–12; (8) that Plaintiff failed to adequately allege RICO standing

   because his supposed injuries were almost entirely undescribed, DE 52 at 12–14; (9) that Plaintiff’s

   injurious falsehood claim was barred by the First Amendment, DE 52 at 15–17; (10) that Plaintiff

   failed to allege almost every necessary element of injurious falsehood under Florida law, DE 52 at

   17–18; (11) that Plaintiff failed to allege a malicious prosecution claim as to any official

   proceeding and, in particular, as to the properly predicated Crossfire Hurricane investigation, DE

   52 at 19–20; and (12) that Plaintiff failed to allege a claim for “agency” because it is not an

   independent cause of action under Florida law.




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          In response, Plaintiff’s counsel indicated that they planned to amend the Complaint. DE

   66 (Apr. 21, 2022). Defendant Clinton did not oppose counsel’s request for an extension of time

   in which to amend. See, e.g., DE 102 (Apr. 27, 2022). In the intervening period, other Defendants

   joined Clinton’s motion to dismiss and filed their own motions alerting Plaintiff and his counsel

   to additional fatal defects in the Complaint. See DE 124 (John Podesta), 139 (Peter Fritsch, Fusion

   GPS, Glenn Simpson); 141 (DNC Services Corporation, Democratic National Committee, Debbie

   Wasserman Schultz); 143 (Perkins Coie); 144 (Nellie Ohr); 145 (Robby Mook); 146 (Michael

   Sussmann); 147 (Marc Elias); 149 (HFACC); 157 (Rodney Joffe); 159 (Igor Danchenko); 160

   (Neustar, Inc.); 162 & 163 (Charles Halliday Dolan, Jr.); 165 (Jake Sullivan). With respect to each

   motion, Plaintiff’s counsel indicated that they planned to amend in response to the motions, and

   Defendants did not oppose extensions of time to allow them to do so. See DE 153 (May 17, 2022). 2

          Plaintiff’s counsel filed the Amended Complaint approximately two months after receiving

   Defendant Clinton’s motion to dismiss and with the benefit of Defendants’ additional motions in

   the interim. DE 177 (June 21, 2022). “But despite this briefing, Plaintiff’s Amended Complaint

   failed to cure any of the deficiencies.” DE 267 at 63–64 (Sept. 8, 2022) (“Op.”). “Instead, Plaintiff

   added eighty new pages of largely irrelevant allegations that did nothing to salvage the legal

   sufficiency of his claims.” Op. at 64. The Amended Complaint is “193 pages in length, with 819

   numbered paragraphs,” and “contains 14 counts, names 31 defendants, 10 ‘John Does’ described

   as fictitious and unknown persons, and 10 ‘ABC Corporations’ identified as fictitious and

   unknown entities.” Op. at 4.




   2
     In addition to challenging the sufficiency of Plaintiff’s allegations to state substantive claims,
   three defendants—Charles Halliday Dolan, Jr., Rodney Joffe, and Orbis Business Intelligence,
   Ltd.—challenged the Court’s exercise of personal jurisdiction over them.

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                                            ARGUMENT

   I.     DEFENDANTS ARE ENTITLED TO COSTS AND FEES UNDER 28 U.S.C.
          § 1927 FOR MOVING TO DISMISS THE AMENDED COMPLAINT.

          Title 28, Section 1927 provides that any attorney who “multiplies court proceedings

   unreasonably and vexatiously” may be required by the court to satisfy personally the excess costs,

   expenses, and reasonable attorneys’ fees imposed by their conduct. Sanctions under Section 1927

   are warranted where an attorney “knowingly or recklessly pursue[s] a frivolous claim,” or where

   their “conduct is so egregious that it is tantamount to bad faith.” Amlong & Amlong, P.A. v.

   Denny’s Inc., 500 F.3d 1230, 1241–42 (11th Cir. 2007).

          To impose sanctions under Section 1927, “three essential requirements” must be satisfied.

   “First, the attorney must engage in unreasonable and vexatious conduct.” Amlong, 500 F.3d at

   1239. “Second, that unreasonable and vexatious conduct must be conduct that multiplies the

   proceedings.” Id. “Finally, the dollar amount of the sanction must bear a financial nexus to the

   excess proceedings, i.e., the sanction may not exceed the costs, expenses, and attorneys’ fees

   reasonably incurred because of such conduct.” Id.

          Each requirement is satisfied here, and an award under Section 1927 is appropriate. An

   unpublished opinion of the Eleventh Circuit concluded that Section 1927 “only applies to

   unnecessary filings after the lawsuit has begun.” Macort v. Prem, Inc., 208 F. App’x 781, 786

   (11th Cir. 2006). Thus, this Court should award costs and fees taxed against Plaintiff’s counsel to

   compensate Defendants for responding to the Amended Complaint and bringing this motion.




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           A.      Plaintiff’s counsel engaged in unreasonable and vexatious conduct by
                   pursuing and persisting with an untimely, factually unsupported, and legally
                   unwarranted suit.

           Plaintiff’s counsel engaged in unreasonable and vexatious conduct first by filing, and then

    by amending, a factually and legally defective suit. An award of costs and fees under Section 1927

    is appropriate when an attorney’s conduct is so egregious that it is “tantamount to bad faith.”

    Amlong, 500 F.3d at 1241–42. “[F]or purposes of § 1927, bad faith turns not on the attorney’s

    subjective intent, but on the attorney’s objective conduct.” Norelus v. Denny’s, Inc., 628 F.3d

    1270, 1284 (11th Cir. 2010). “[O]bjectively reckless conduct is enough to warrant sanctions even

    if the attorney does not act knowingly and malevolently.” Id. (quoting Amlong, 500 F.3d at 1241).

    Under this standard, the Court “compare[s] the conduct at issue with how a reasonable attorney

    would have acted under the circumstances.” Id.

           A reasonable attorney would never have filed this suit, let alone continued to prosecute it

    after multiple Defendants’ motions to dismiss highlighted its fundamental and incurable defects.

    As this Court recognized in dismissing the Amended Complaint, “[a]t its core, the problem with

    Plaintiff’s Amended Complaint is that Plaintiff is not attempting to seek redress for any legal harm;

    instead, he is seeking to flaunt a two-hundred-page political manifesto outlining his grievances

    against those that have opposed him, and this Court is not the appropriate forum.” Op. at 64. “It

    is not simply that” the Amended Complaint “is ‘inadequate in any respect’; it is inadequate in

    nearly every respect.” Id. at 63 (emphasis in original).

           1. For one, as this Court held, “the claims presented in the Amended Complaint are not

    warranted under existing law. In fact, they are foreclosed by existing precedent, including

    decisions of the Supreme Court.” Op. at 4. This is not a case where counsel presented a good-

    faith argument for the expansion of existing precedent. Instead, they recklessly advanced claims

    that “clearly contravene binding case law,” id., which the most basic legal research would have


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    revealed. Moreover, even after Defendants’ motions to dismiss identified the many deficiencies

    in the Complaint, Plaintiff’s counsel persisted in pursuing these defective allegations by filing an

    Amended Complaint that repeated the same errors, and an Opposition defending it.

           In the preface to its dismissal on the merits, the Court identified two examples of how

    Plaintiff’s claims are clearly foreclosed by governing law, and noted “[t]here are many others.”

    Op. at 4. These include that Plaintiff’s theory of personal jurisdiction, based on the allegation that

    certain Defendants “knew that Florida is a state in the United States which was an important one,”

    contravenes the Supreme Court’s binding “effects” test in Calder v. Jones, 465 U.S. 783, 789

    (1984). Cf. Op. at 19–20. Plaintiff’s argument that his claims did not accrue until he incurred the

    majority of his damages contravenes the Supreme Court’s binding decision in Wallace v. Kato that

    a “cause of action accrues even though the full extent of the injury is not then known or

    predictable.” 549 U.S. 384, 391 (2007); Op. at 30. Plaintiff’s argument that Defendants impeded

    an “official proceeding” contravenes the statutory definition, which limits the term to federal

    judicial cases or proceedings before Congress or a federal agency. 18 U.S.C. § 1515(a); Op. at 32.

    “[M]any of the statements that Plaintiff characterizes as injurious falsehoods qualify as speech

    plainly protected by the First Amendment.” Op. at 49. Plaintiff’s Computer Fraud and Abuse Act

    theory “is squarely foreclosed by Van Buren.” Op. at 55. And Plaintiff’s seven counts for

    “Agency” or “Respondeat Superior” are foreclosed by binding Florida precedent holding that

    neither are independent causes of action. Op. at 62. The list goes on.

           2. Even had Plaintiff’s counsel not recognized the deficiencies in their legal theories before

    filing the Complaint—which would itself be unreasonable, and a violation of their duties to

    investigate the legal bases for their claims—“[t]he fatal flaws in Plaintiff’s case should have been

    apparent at least from the date on which Defendants filed their motion to dismiss.” Celsius




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    Holdings, Inc. v. A SHOC Beverage, LLC, No. 21-80740-CV, 2022 WL 3568042, at *3 (S.D. Fla.

    July 19, 2022) (Middlebrooks, J.) (awarding fees under Section 1927).                Upon receiving

    Defendants’ initial motions to dismiss, a reasonable attorney would have determined whether there

    was any way to cure the legal deficiencies and, finding none, withdrawn the suit.

           That, at great cost to the Court and Defendants, is not what happened here. Plaintiff’s

    counsel clung to the deficient allegations and theories in the Amended Complaint, even as to points

    upon which no reasonable attorneys could disagree. Indeed, the Amended Complaint not only

    failed to fix the deficiencies identified by the first round of motions to dismiss, but also

    compounded the problem by adding additional irrelevant and frivolous allegations. And Plaintiff’s

    counsel also compounded their unreasonable approach in their Opposition to Defendants’ renewed

    motions to dismiss the Amended Complaint, where Plaintiff’s counsel failed to reasonably and

    forthrightly address Defendants’ factual and legal arguments and failed to acknowledge binding

    precedent on point and either explain why it did not apply or argue for its expansion.

           Moreover, the Opposition was replete with misleading citations to the case law it did

    discuss. See Op. at 27 (“Clinton v. Jones . . . arrived at the opposite conclusion than that which

    Plaintiff urges.”); id. at 32 (“Plaintiff cites United States v. Grubb as supporting the contrary

    position . . . . But that case doesn’t say so, and it actually hurts Plaintiff’s position.”); id. at 54

    n.20 (“Plaintiff puzzlingly cites to Sewell with respect to his statute of limitations argument for the

    SCA, despite that Sewell contradicts his argument with respect to his CFAA claim.”).

           3. The Complaint, Amended Complaint, and Opposition are also replete with misleading

    citations of fact. These, too, render Plaintiff’s counsel’s conduct objectively unreasonable.

    “Attorneys are charged with knowing more about their case, about their client’s various stories,

    about the contradictions in their client’s testimony, and about the testimony of all the potential




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    witnesses than a busy district court judge with a heavy docket can be expected to know.” Norelus,

    628 F.3d at 1287. As such, they may not “relentlessly” pursue claims while “blind[ing] themselves

    to as much of the contradictory evidence as they could,” nor “stubbornly ignore[]” the gaps in their

    factual theories. Id. at 1283. Sanctions are appropriate where counsel either fails to make a

    reasonable inquiry into the facts on which the claim is based, or where materials incorporated by

    reference flatly contradict plaintiff’s factual assertions. See Celsius, 2022 WL 3568042, at *3

    (granting sanctions); Worldwide Primates, Inc. v. McGreal, 87 F.3d 1252, 1254 (11th Cir. 1996)

    (affirming sanctions); see also Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998) (same).

           Here, Plaintiff “annotated the Amended Complaint with 293 footnotes containing

    references to various public reports and findings.” Op. at 5. “[I]f a party chooses to include such

    references, it is expected that they be presented in good faith and with evidentiary support.

    Unfortunately, that is not the case here.” Id. As the Court observed, Plaintiff’s counsel selectively

    cited portions of the sources they invoked, or ignored their conclusions outright. For example,

    they “misrepresent[ed]” and “misconstrue[d]” the Inspector General Report regarding Crossfire

    Hurricane. Op. at 6, 51. Similarly, they falsely asserted that “Special Counsel Mueller went on to

    exonerate Donald J. Trump and his campaign with his finding that there was no evidence of

    collusion with Russia.” DE 177 (Am. Compl.) ¶ 7; cf. Op. at 52. Despite the fact that Defendants

    pointed out these inaccurate assertions in their initial motions to dismiss, counsel reiterated them

    in the Amended Complaint—and added new and additional misleading statements. For example,

    although Plaintiff’s counsel repeatedly cited unproven allegations from Special Counsel Durham’s

    indictment of Michael Sussmann, they omitted that Sussmann was acquitted or that many of those

    allegations were never the subject of an offer of proof at trial. Op. at 32 n.9.




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           Plaintiff’s Opposition reiterated many of these misleading factual claims, despite the fact

    that Defendants pointed out that they were unwarranted interpretations of the cited materials. See,

    e.g., Trump Opp’n at 16 (alleging that Defendants were “ultimately successful in . . . provoking

    the commencement of the FBI’s Crossfire Hurricane investigation, and by extension, the Mueller

    Investigation”); id. at 51 (asserting that “[i]n the Mueller Report, Special Counsel Mueller found

    that there was no evidence that either Plaintiff or his campaign colluded with the Russian

    Government to undermine the 2016 presidential election.”). 3

           4.   In addition to Plaintiff’s misleading citations to public documents, counsel also

    unreasonably larded the Complaint, Amended Complaint, and Opposition with outright false,

    unsupported, and inflammatory assertions. As this Court already noted, “[m]any of the Amended

    Complaint’s characterizations of events are implausible because they lack any specific allegations

    which might provide factual support for the conclusions reached.” Op. at 5. “What the Amended

    Complaint lacks in substance and legal support it seeks to substitute with length, hyperbole, and

    the settling of scores and grievances.” Op. at 6.

           For example, as part of his damages claim, Plaintiff alleged that “[t]he different [business]

    opportunities which evaporated are too many to list, but as an example, Donald J. Trump has been

    banned from different social media platforms, including Twitter.” Am. Compl. 524 n.277.

    According to the Amended Complaint, “[m]ost of this was due to the misinformation campaign

    waged by Hillary Clinton, whereby truth was deemed false and lies were deemed to be truth.” Id.

    Setting aside counsel’s failure to allege any concrete business harm—contrary to the requirements

    of Twombly, Iqbal, RICO, and Federal Rule of Civil Procedure 9(g) regarding special damages—



    3
      After citing extensively from the Sussmann indictment, Plaintiff does admit, in a footnote in his
    Opposition, that Sussmann was acquitted. Trump Opp’n 12 n.5. This makes the omission of that
    fact from the Amended Complaint all the more striking.

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    this assertion is demonstrably false. Plaintiff was permanently suspended from Twitter not in

    connection with anything Clinton did, nor with any alleged Russia connection, but because Twitter

    concluded Plaintiff violated its ban of “Glorification of Violence” after the riot at the U.S. Capitol

    on January 6, 2021. See Twitter, Permanent suspension of @realDonaldTrump (8 Jan. 2021),

    https://blog.twitter.com/en_us/topics/company/2020/suspension.

           5. In addition to the lack of legal merit to the substantive claims, sanctions are warranted

    because—absent a viable RICO claim—there was no legal basis to argue for personal jurisdiction

    over certain defendants. As this Court recognized, “Plaintiff has not alleged that Defendants

    ‘aimed’ any conduct at Florida” and indeed, Plaintiff “was a resident of New York at the time of

    the occurrences giving rise to Plaintiff’s claims.” Op. at 20. Plaintiff’s argument cannot be

    reconciled with governing law. And courts routinely impose sanctions where, as here, the plaintiff

    “continu[es] pressing [a] frivolous assertion of jurisdiction” without a good faith basis to do so.

    Jones v. Campbell Univ., 322 F. Supp. 3d 106, 109 (D.D.C. 2018); see also O’Rourke v. Dominion

    Voting Sys. Inc., No. 20-CV-03747-NRN, 2021 WL 3400671 (D. Colo. Aug. 3, 2021) (same).

           6. Finally, the form of the Complaint and Amended Complaint are as defective as their

    substance. Both the original and amended complaints are “quintessential shotgun pleadings” of

    the type the Eleventh Circuit has consistently rejected. Op. at 7. “Besides violating the rules,

    shotgun pleadings also ‘waste scarce judicial resources . . . and undermine the public’s respect for

    the courts.’” Barmapov v. Amuial, 986 F.3d 1321, 1324 (11th Cir. 2021).

           As particularly relevant here, shotgun pleadings shift the burden of untangling a plaintiff’s

    allegations and legal theories onto the defendants and the Court. As a result of the prolix

    Complaint and Amended Complaint, Defendants have twice been forced to comb through the

    complaints to try to parse what Plaintiff was attempting to plead and to ensure that each allegation




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    was adequately addressed in their motions to the Court. Here, too, Plaintiff’s decision to ignore

    the issues raised in the first round of motion to dismiss briefing is particularly unreasonable,

    because it required Defendants to bear the costs of beginning the whole process anew.

            Plaintiff’s shotgun pleadings have also required this Court to devote significant time and

    attention to resolving this case—as evidenced by the Court’s lengthy opinion. Indeed, in addition

    to causing “undue expense” to Defendants, shotgun complaints like these “lessen the time and

    resources the court has available to reach and dispose of the cases and litigants waiting to be

    heard.” Davis v. Coca-Cola Bottling Co. Consol., 516 F.3d 955, 982 (11th Cir. 2008). By putting

    the Court to the burden of piecing together allegations and scrutinizing the chaos for cognizable

    claims, “[s]hotgun pleadings . . . exact an intolerable toll on the trial court’s docket . . . and impose

    unwarranted expense on the litigants, the court and the court’s parajudicial personnel and

    resources.” Cramer v. State of Fla., 117 F.3d 1258, 1263 (11th Cir. 1997).

            B.      Plaintiff’s counsel unreasonably and vexatiously multiplied the proceedings
                    by their conduct.

            This Complaint should never have been filed—and certainly, after the initial round of

    motions to dismiss, Plaintiff was on notice that his claims were deficient in several fundamental

    and independent respects. Plaintiff nevertheless filed a shotgun Amended Complaint that repeated

    the same deficiencies at greater length—necessitating a second round of motion briefing—and

    then opposed the motion to dismiss in a prolix Opposition that wrongly contended the Amended

    Complaint stated a viable claim, while repeating the same factual misrepresentations and

    unfounded legal theories. This conduct required Defendants, and this Court, to expend additional

    and unnecessary time and resources in untangling and responding to Plaintiff’s allegations.




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           C.      This Court should award costs and fees associated with moving to dismiss the
                   Amended Complaint and moving for sanctions.

           The award of costs and fees under Section 1927 cannot exceed those incurred as a result of

    counsel’s vexatious conduct due to “unnecessary filings after the lawsuit has begun.” Macort, 208

    F. App’x at 786. Thus, although the Court’s inherent powers as well as the DTSA can authorize

    sanctions as to the filing of the initial Complaint, Section 1927 cannot. Id.

           In light of this, this Court should enter an order awarding Defendants their attorneys’ fees

    and costs incurred in responding to the Amended Complaint, as well as the costs and fees

    associated with seeking the instant sanctions, to be paid by Plaintiff’s counsel. “Because the costs

    arising from the sanctions proceedings were ‘occasioned by the objectionable conduct,’ a district

    court may include costs arising from the sanctions proceedings in the sanctions award.” Norelus,

    628 F.3d at 1298. The appropriate measure of fees and costs is described below and in Appendix

    A. See infra, pp. 19–20 & App’x A.

    II.    THE COURT SHOULD IMPOSE SANCTIONS UNDER ITS INHERENT
           AUTHORITY.

           Because of the particularly vexatious and frivolous nature of the Complaint and Amended

    Complaint in this case, the Court should use its inherent authority to go beyond Section 1927, and

    impose sanctions on Plaintiff himself for the filing of both the original and amended Complaints.

    Under its inherent authority, the Court may order Plaintiff to pay Defendants’ costs and fees

    associated with the defense of the entire action, which would not have been incurred absent

    Plaintiff’s bad-faith pursuit of these frivolous claims.

           In Chambers v. NASCO, 501 U.S. 32, 43–45 (1991), the Supreme Court stated that

    “tampering with the administration of justice . . . involves far more than an injury to a single

    litigant. It is a wrong against the institutions set up to protect and safeguard the public.” Id. Thus,

    the Supreme Court acknowledged that district courts have the inherent powers to assess sanctions,


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    without an explicit grant of statutory authority against both parties and their attorneys. Id. at 46.

    A court may exercise this power “to sanction the willful disobedience of a court order, and to

    sanction a party who has acted in bad faith, vexatiously, wantonly, or for oppressive reasons.”

    Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1223 (11th Cir. 2017).

           In the Eleventh Circuit, the “key to unlocking a court’s inherent power is a finding of bad

    faith.” Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir. 1998). “[I]n the absence of direct

    evidence of subjective bad faith, this standard can be met if an attorney’s conduct is so egregious

    that it could only be committed in bad faith.” Purchasing Power, LLC v. Bluestem Brands, Inc.,

    851 F.3d 1218, 1224–25 (11th Cir. 2017). “[R]ecklessness plus a frivolous argument suffice” to

    make this showing. Id. at 1225. In addition, “a finding of bad faith ‘does not require that the legal

    and factual basis for the action prove totally frivolous; where a litigant is substantially motivated

    by vindictiveness, obduracy, or mala fides, the assertion of a colorable claim will not bar the

    assessment of attorney’s fees.’” B.K.B. v. Maui Police Dep’t, 276 F.3d 1091, 1108 (9th Cir. 2002).

           Here, the same conduct described above supports a finding not only of recklessness, but of

    subjective bad faith. See supra, pp. 5–11. “A finding of bad faith is warranted where an attorney

    knowingly or recklessly raises a frivolous argument, or argues a meritorious claim for the purpose

    of harassing an opponent.” In re Evergreen Sec., Ltd., 570 F.3d 1257, 1273 (11th Cir. 2009). “If

    particularly egregious, the pursuit of a claim without reasonable inquiry into the underlying facts

    can be the basis for a finding of bad faith.” Id.

           1. The totality of the problems with the Complaint, Amended Complaint, and Opposition

    are so significant that this Court can infer the suit was filed and prosecuted in bad faith. Indeed,

    the Court has already noted “serious doubts” as to whether this case was brought for a proper

    purpose, was warranted under existing law, and had evidentiary support. See Op. at 6–7.




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           2. Particularly important here is the evidence that this case was brought for an improper

    purpose: namely, “‘as a fundraising tool, a press release, or a list of political grievances.’” Op. at

    3. “At its core, the problem with Plaintiff’s Amended Complaint is that Plaintiff is not attempting

    to seek redress for any legal harm; instead, he is seeking to flaunt a two-hundred-page political

    manifesto outlining his grievances against those that have opposed him, and this Court is not the

    appropriate forum.” Op. at 64.

           Counsel’s own statements make clear that this suit was filed as a political tool and in order

    to fight back at Plaintiff’s perceived political enemies. After the initial Complaint, counsel for

    Plaintiff went on a media tour to discuss the suit. According to video clips hosted on her own

    firm’s website, Alina Habba stated to Newsmax: “What the real goal [of the suit] is, is democracy.

    Is continuing to make sure that our elections, continuing to make sure our justice system is not

    obstructed by political enemies. That cannot happen. And that’s exactly what happened. They

    obstructed justice, they continued the false narrative. . . . This grand scheme, that you literally

    could not make up, to take down an opponent. That is un-American.” 4 To Fox News’s Sean

    Hannity, she explained: “You can’t make this up. You literally cannot make a story like this

    up. . . . And President Trump is just not going to take it anymore. If you are going to make up

    lies, if you are going to try to take him down, he is going to fight you back. And that is what this

    is, this is the beginning of all that.” 5 In both clips, counsel emphasizes the same misleading

    statements present in the Complaint, Amended Complaint, and Opposition, suggesting that the



    4
       Video at 0:35–1:21, Trump Suing Hillary Clinton Over Russia Hoax, Habba Madaio &
    Associates LLP – News (March 31, 2022), https://habbalaw.com/news/trump-suing-hillary-
    clinton-over-russia-hoax/.
    5
      Video at 1:55–2:13, Trump Sues Clinton, Steele for ‘False Narrative’ About Russia Collusion,
    Habba Madaio & Associates LLP – News (March 25, 2022), https://habbalaw.com/news/trump-
    sues-clinton-steele-for-false-narrative-about-russian-collusion/.


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    claims are factually supported by Robert Mueller’s investigation, the Inspector General’s Report,

    and the Durham investigation.

           Counsel continued her comments after this Court dismissed the suit. In a September 10,

    2022 interview with Sean Hannity, the host asked her “Why isn’t [Hillary Clinton] being held

    accountable for what she did?” Counsel’s response is illuminating for its reiteration, after

    extensive briefing, of the many misrepresentations on which the suit was based: 6

           ALINA HABBA, ATTORNEY FOR FORMER PRESIDENT DONALD TRUMP:
           Because when you have a Clinton judge as we did here, Judge Middlebrooks who
           I had asked to recuse himself but insisted that he didn’t need to, he was going to be
           impartial, and then he proceeds to write a 65-page scathing order where he basically
           ignored every factual basis which was backed up by indictments, by investigations,
           the Mueller report, et cetera, et cetera, et cetera, not to mention Durham, and all the
           testimony we heard there, we get dismissed. Not only do we get dismissed, he says
           that this is not the proper place for recourse for Donald Trump. He has no legal
           ramifications. Where what is the proper place for him? Because the FBI won’t
           help when you can do anything, obstruct justice, blatantly lie to the FBI,
           Sussmann’s out, he gets acquitted, where do you go? That’s the concern for me.
           Where do you get that -- that recourse? 7

           She also indicated that, while Plaintiff himself doubted whether the suit would

    succeed, she nevertheless “fought” to pursue it:

           HABBA: You know, I have to share with you a story, Sean, that I have not shared
           with anybody. The recourse that I have at this point is obviously to appeal this to
           the 11th Circuit as Gregg said. But when I brought this case and we were assigned,
           you know, this judge and we went through the recusal process, we lost five
           magistrates, including Rinehart [sic] who’s dealing with the boxes as we know.
           The former president looked at me and he told me, you know what, Alina. You’re
           not going to win. You can’t win, just get rid of it, don’t do the case. And I said,
           no, we have to fight. It’s not right what happened. And you know, he was right,
           and it’s a sad day for me personally because I fought him on and I should have
           listened, but I don’t want to lose hope in our system. I don’t. So, you know, I’m


    6
      Although the Court need not find subjective bad faith on the part of counsel to impose sanctions
    under Section 1927, supra, p. 5, the evidence of bad faith here may aid in the determination of
    whether counsel was objectively reckless. Counsel’s subjective state of mind is therefore
    “relevant” “to some extent” under Section 1927, because “conduct is more likely to be
    ‘unreasonable and vexatious’ if it is done with a malicious purpose.” Norelus, 628 F.3d at 1284.
    7
     See Exhibit 1 at 12–13 (“Biden Again Slams Republicans,” Transcript from FOX: Hannity, Sept.
    10, 2022).




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              deciding whether we’re going to appeal it. But I got to tell you, Sean, it’s hard
              when you’re looking at what’s happening in these in this justice system. 8

              3. The record reflects further evidence of bad faith based on unfair conduct “calculated to

    gain a tactical advantage and protect its interest in the instant litigation.” Sciaretta v. Lincoln Nat’l

    Life Ins. Co., No. 9:11-CV-80427-DMM, 2013 WL 11317858, at *8 (S.D. Fla. May 6, 2013)

    (Middlebrooks, J.), aff’d, 778 F.3d 1205 (11th Cir. 2015). Some of Plaintiff’s strategies in

    prosecuting this case appear to involve this form of gamesmanship.

              For example, early in this suit, Plaintiff frivolously moved to disqualify the Court for

    supposed bias. When a recusal motion is frivolous, and without support in existing law or fact, it

    can support a finding of bad faith. See In re Evergreen Sec., Ltd., 570 F.3d 1257, 1273–77 (11th

    Cir. 2009) (finding bad faith in connection with frivolous recusal motion); Bettis v. Toys R Us, 646

    F. Supp. 2d 1273, 1332–41 (S.D. Fla. 2009) (same). Plaintiff’s counsel also unreasonably

    multiplied proceedings by moving this Court to enter a scheduling order and postpone the trial

    date while the motions to dismiss were pending—despite having previously agreed during a status

    conference to postpone discovery and the scheduling order pending resolution of the motions.

    Plaintiff’s vexatious motion necessitated a meet and confer call with 41 attorneys. DE 233, at 2.

              Under its inherent power, this Court has substantial flexibility to craft an appropriate

    remedy against a party and its attorneys. The amount of any monetary sanctions based on

    attorneys’ fees must be reasonable. But where a plaintiff initiates a case in bad faith, so that every

    cost of defense is attributable only to sanctioned behavior, the court may reasonably award all

    costs and fees incurred in defending the action. Goodyear Tire & Rubber Co. v. Haeger, 581 U.S.

    101 (2017); see also Barash v. Kates, 585 F. Supp. 2d 1368, 1374 (S.D. Fla. 2008). These costs




    8
        Id. at 13.

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    and fees may be taxed against client, attorney, or both. Dude v. Cong. Plaza, LLC, No. 17-80522-

    CIV, 2018 WL 3432714, at *5 (S.D. Fla. July 16, 2018).

           Under its inherent authority, this Court should enter an order awarding sanctions, to be paid

    by Plaintiff himself, for the Defendants’ full measure of attorneys’ fees and costs incurred in

    defending this action from its inception through its dismissal, and to the conclusion of these

    sanctions proceedings. At the very least, Defendants are entitled to fees and costs from the

    Amended Complaint onward, at which point Plaintiff and his counsel were indisputably on notice

    of the myriad deficiencies in their claims. The appropriate measure of fees and costs is described

    below and in Appendix A. See infra, pp. 19–20 & App’x A.

    III.   THE COURT SHOULD IMPOSE SANCTIONS UNDER THE DEFEND TRADE
           SECRETS ACT.

           Here, one of Plaintiff’s claims for relief was for the supposed theft of trade secrets under

    the Defend Trade Secrets Act, 18 U.S.C. §§ 1830–32, in Count VIII against Defendants Neustar

    Inc., Neustar Security Services, Joffe, DNC, Clinton Campaign, Hillary Clinton, Perkins Coie and

    Sussmann (hereinafter “DTSA Defendants”).            Under that statute, “if a claim of . . .

    misappropriation [of a trade secret] is made in bad faith, which may be established by

    circumstantial evidence, . . . [a court may] award reasonable attorney’s fees to the prevailing

    party.” 18 U.S.C. § 1836(b)(3)(D).

           “Although the Eleventh Circuit has [also] not addressed what constitutes ‘bad faith’ for

    purposes of the DTSA, there is ample precedent as to what constitutes ‘bad faith’ warranting the

    award of attorneys’ fees.” Temurian v. Piccolo, No. 18-CV-62737, 2021 WL 1520588, at *5 (S.D.

    Fla. Mar. 3, 2021), report and recommendation adopted in part, No. 18-62737-CIV, 2021 WL




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    1121003 (S.D. Fla. Mar. 24, 2021). 9 “In determining the propriety of a bad faith fee award, ‘the

    inquiry will focus primarily on the conduct and motive of a party, rather than on the validity of the

    case.’” Temurian, 2021 WL 1121003, at *6 (quoting Mar. Mgmt., Inc. v. United States, 242 F.3d

    1326, 1333 (11th Cir. 2001)). “For there to be a finding of bad faith, a plaintiff’s conduct must be

    objectively specious or frivolous and there must be evidence of subjective misconduct.” Id.

           “A prevailing party can establish that the claim against it was objectively specious by

    demonstrating ‘that there was no misappropriation or threatened misappropriation or that the

    opposing party could not have suffered any economic harm.’” Johnson Matthey Process Techs.,

    Inc. v. G.W. Aru LLC, No. CV420-322, 2022 WL 987945, at *3 (S.D. Ga. Mar. 31, 2022) (citation

    omitted). “Objective speciousness exists where ‘there is a complete lack of evidence as to every

    element of a misappropriation of trade secrets claim.’” Id. (citation omitted). In sum, “[w]hile

    feelings may provide a reason to investigate a claim, they do not provide a good faith basis for

    filing an action.” TransPerfect Glob., Inc. v. Lionbridge Techs., Inc., No. 19CV3283 (DLC), 2022

    WL 2119344, at *2 (S.D.N.Y. May 31, 2022).

           Plainly, DTSA Defendants are “prevailing part[ies]” here. And for the reasons explained

    in their motions to dismiss the Amended Complaint, Plaintiff failed to allege every single element

    of his trade secret claim. See DE 226 at 9–11. Most fundamentally, as this Court found, he failed

    even to allege the existence of a trade secret. Op. at 33–37.

           “[S]ubjective misconduct is found to exist ‘where a plaintiff knows or is reckless in not

    knowing that its claim for trade secret misappropriation has no merit,’ and may be proven by direct

    evidence of actual knowledge or may be inferred from the speciousness of plaintiff’s trade secret


    9
     Temurian and other authorities cited declined to award the full measure of requested fees and
    costs, but there is only a small body of precedent regarding sanctions under the DTSA, which was
    enacted in 2016. See Temurian, 2021 WL 1121003 (declining to award fees under the DTSA
    “because of Plaintiffs’ inability to properly plead their claim”).

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    claim and its conduct during litigation.” Temurian, 2021 WL 1520588, at *5; see also Greenberg

    Farrow Architecture, Inc. v. Perkins Eastman Architects, P.C., 1:12-CV-1435, 2014 WL

    12694260, at *6 (N.D. Ga. July 2, 2014). For the reasons above, the Court can also conclude that

    Plaintiff acted in bad faith in bringing and prosecuting this suit. See supra, pp. 5–11, 13–16.

    Indeed, Plaintiff was amply warned of the deficiencies with his DTSA claim in DTSA Defendants’

    initial motions to dismiss, but nevertheless renewed the same claim in the Amended Complaint.

           Under the DTSA, this Court should enter an order awarding sanctions, to be paid by

    Plaintiff himself, for the DTSA Defendants’ full measure of attorneys’ fees and costs incurred in

    defending this action from its inception through its dismissal, and to the conclusion of these

    sanctions proceedings. At the very least, the DTSA Defendants are entitled to fees from the

    Amended Complaint onward, at which point Plaintiff and his counsel were indisputably on notice

    of the myriad deficiencies in their claims. The appropriate measure of fees and costs is described

    below and in Appendix A. See infra, pp. 19–20 & App’x A.

    IV.    DEFENDANTS’ ATTORNEYS’ FEES WERE REASONABLE.

           Whether under Section 1927, its inherent authority, the Defend Trade Secrets Act, or

    another source of authority, this Court may impose an award of fees and costs. Depending on the

    Court’s source of authority, it may tax these sanctions against Plaintiff and/or his attorneys.

           “The starting point for determining the amount of a ‘reasonable fee is the number of hours

    reasonably expended on the litigation multiplied by a reasonable hourly rate.’” Celsius Holdings,

    2022 WL 3568042, at *4 (quoting Bivins v. Wrap It Up Inc., 548 F.3d 1348, 1350 (11th Cir. 2008)).

    “That ‘lodestar’ may be adjusted after considering other factors.” Id. “Under this method, the

    Court must determine whether the fee applicant has satisfied the burden of establishing that the

    requested hourly rate is reasonable.” Id. In determining the prevailing market rates, the Court




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    should consider several factors, including “the attorneys’ customary fee, the skill required to

    perform the legal services, [and] the attorneys’ experience, reputation and ability.” Mallory v.

    Harkness, 923 F. Supp. 1546, 1555 (S.D. Fla. 1996), aff’d, 109 F.3d 771 (11th Cir. 1997).

    “Evidence of rates may be adduced through direct evidence of charges by lawyers under similar

    circumstances or by opinion evidence.” Celsius Holdings, 2022 WL 3568042, at *4. Furthermore,

    the Court may make a fee award based on its own experience. Norman v. Housing Auth. of City

    of Montgomery, 836 F.2d 1292, 1303 (11th Cir. 1988).

           Mindful that the Court might structure the fee award differently depending on the source

    of sanctions authority and its findings about the appropriateness of sanctions, Defendants identify

    in Appendix A the attorneys’ fees incurred by each Defendant that correspond to three phases of

    the case: (1) the period from the filing of the initial Complaint to the filing of Defendants’ initial

    motions to dismiss; (2) the period after the filing of Defendants’ initial motions to dismiss to the

    Court’s dismissal of the Amended Complaint; and (3) the period related to this sanctions motion.

    Each request for fees is supported by further facts set forth in the declarations identified in

    Appendix A. Some Defendants have also sought certain costs incurred; those costs are identified

    in Appendix A and supported by the referenced declarations.

           Defendants served this request for fees on Plaintiff consistent with Local Rule 7.3, but were

    unable to resolve the issues here despite meeting and conferring in good faith by video twice, on

    October 13 and October 26, 2022. A certification of compliance and verification is included after

    Appendix A.

                                              CONCLUSION

           For the foregoing reasons, Defendants respectfully request that this Court impose sanctions

    against Plaintiff and his counsel for attorneys’ fees, costs, and other relief the Court finds just.




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    Dated: October 31, 2022                            Respectfully submitted,


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                               Appendix A – Fee Requests and Supporting Evidence

Defendant(s)      Fees sought to Fees sought to be Fees sought to be  Costs sought to                  Supporting
                   be recovered   recovered from     recovered to      be recovered                    declaration
                 from Complaint initial MTD to        date on the
                  to initial MTD     dismissal     sanctions motion
Hillary          $44,975         $99,725           $27,515           $4,197.31                      Ex. 2
Clinton                                                                                             (Kendall Decl.)
HFACC and        $2,343             $13,406              $4,600               $0                    Ex. 3
John Podesta                                                                                        (Trout Decl.)
DNC, DNC         $137,412.50        $32,780              $15,632.50           $2,176.69             Ex. 4
Services                                                                                            (Crowley Decl.)
Corporation,
and Debbie
Wasserman
Schultz
Robert Mook      $36,312.50         $24,192.50           $9,105               $597.08               Ex. 5
                                                                                                    (Reilly Decl.)
Fusion GPS,      $31,550            $18,690              $5,580               $0                    Ex. 6
Peter Fritsch,                                                                                      (Levy Decl.)
and Glenn
Simpson
Bruce and        $25,760            $26,820              $6,330               $400                  Ex. 7
Nellie Ohr                                                                                          (Berman Decl.)
Igor             $5,600             $10,220              $1,540               $6,389                Ex. 8
Danchenko                                                                                           (Monsour Decl.)
Neustar Inc.     $67,944.50         $57,569              $8,630               $0                    Ex. 9
                                                                                                    (Southall Decl.)
Neustar          $0                 $50,950              $2,620               $327.98               Ex. 10
Security                                                                                            (McNichols Decl.)
Services
Rodney           $81,734.85         $118,568.90          $25,434.90           $604.33               Ex. 11
Joffe                                                                                               (Tyrrell Decl.)
Orbis            $0                 $40,675              $9,375               $0                    Ex. 12
Business                                                                                            (Lett Decl.)
Intelligence
Ltd.
Charles          Mr. Dolan’s request for $16,274 in attorneys’ fees is supported by the materials filed in connection
Halliday         with his motion at DE 269.
Dolan, Jr.




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           CERTIFICATE OF COMPLIANCE WITH RULE 7.3 AND VERIFICATION

           Consistent with Local Rule 7.3, I served the draft sanctions motion on Plaintiff’s counsel

    by email on October 5, 2022. That same day, my colleague provided counsel with a link to

    download the draft supporting declarations via Secure File Transfer (SFT). Defendants met and

    conferred in good faith with Plaintiff’s counsel by Microsoft Teams twice, on October 13 and

    October 26, 2022, but were unable to reach any agreement as to either the Defendants’ entitlement

    to or the amount of fees and expenses not taxable under 28 U.S.C. §1920 that are recoverable from

    Plaintiff and/or his counsel.

           Consistent with the requirements of Rule 7.3, I verify under penalty of perjury that the

    statements made in this Motion and Memorandum are true and correct to the best of my

    knowledge, and are based either on my personal knowledge or on the information provided to me

    in the appended Declarations.


                                                  /s/ David E. Kendall
                                                      David E. Kendall

    Dated: October 31, 2022
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 31st day of October, 2022, I caused a copy of the foregoing

    Defendants’ Motion for Sanctions to be served on all counsel of record via CM/ECF. All parties

    required to be served have been served.


                                                 /s/ David Oscar Markus
                                                     David Oscar Markus




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